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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TYHEE HICKMAN, SHANAY BOLDEN,                     :
and O’DONALD HENRY, individually and              :   Civil Action No.: 2:17-cv-01038-GAM
on behalf of all persons similarly situated,      :
                                                  :
               Plaintiffs,                        :   Class & Collective Action
                                                  :
       v.                                         :
                                                  :
TL TRANSPORTATION, LLC, SCOTT                     :
FOREMAN, HERSCHEL LOWE,                           :
AMAZON.COM, LLC, and AMAZON                       :
LOGISTICS, INC.                                   :
                                                  :
               Defendants.                        :

                 DECLARATION OF SARAH R. SCHALMAN-BERGEN
              IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
                        ATTORNEYS’ FEES AND COSTS

       I, Sarah R. Schalman-Bergen, hereby declare that the following is true and correct:

       1.      I am a member in good standing of the bar of the Commonwealth of Pennsylvania,

and I am admitted to this Court. I am a shareholder at Berger Montague PC (“Berger Montague”)

and Co-Counsel for Plaintiffs and the Settlement Class in the above-captioned litigation.

       2.      Berger Montague specializes in class action litigation in federal and state courts

and is one of the preeminent class action law firms in the United States. Berger Montague currently

consists of over 65 attorneys who represent plaintiffs in complex civil litigation, class action, and

collective action litigation, with offices in Philadelphia, Minneapolis, San Diego, and Washington

D.C. The firm’s Employment Law Department has extensive experience representing employees

in class action and collective action litigation. Berger Montague has played lead roles in major

cases for over 49 years, resulting in recoveries collectively totaling well over $30 billion for our

clients and the classes they have represented. A copy of our firm’s resume is attached as Exhibit
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A to my Declaration filed with Plaintiffs’ Unopposed Motion for Preliminary Approval of the

Settlement. (Dkt. No. 125-3, Ex. A.)

       3.      I am the Co-Chair of the Employment Law Department at Berger Montague, and I

have an extensive background in litigation on behalf of employees. I have served and currently

serve as lead or co-lead counsel in many employment class and collective action cases in federal

courts across the country, brought under the Fair Labor Standards Act and related state wage laws,

including unpaid wages and unpaid overtime compensation cases similar to this Lawsuit. Berger

Montague has successfully resolved numerous unpaid overtime cases in district courts across the

United States, including in the Eastern District of Pennsylvania and the other district courts in the

Third Circuit. This level of experience enabled our firm to undertake this matter and to efficiently

and successfully prosecute, negotiate, and resolve the claims on behalf of Plaintiffs and the

Settlement Class Members.

       4.      Practice in the area of wage and hour class and collective action litigation requires

skills, knowledge, and experience in two distinct subsets of the law: (a) the substantive

employment law applicable to such cases; and (b) the substantive and procedural aspects of

prosecuting class and collective actions. Expertise in one of these areas does not necessarily

translate into expertise in the other. Plaintiffs’ Counsel in such cases – in order to be successful –

must have deep expertise in both. The issues presented in this case required more than just a general

appreciation of wage and hour law and/or class action/collective action procedures, as these areas

of practice are often changing. Here, Class Counsel’s knowledge and expertise was utilized to drill

down on and narrow the key issues and ultimately, was leveraged to reach a fair and reasonable

$1.8 million settlement in an efficient manner.

       5.      My firm served as co-lead counsel in the case with Willig, Williams & Davidson.




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Our firms worked together on the case and divided work tasks so as to avoid duplication of effort

in representing Plaintiffs and Settlement Class Members.

       6.       I respectfully submit this declaration in support of Plaintiffs’ Unopposed Motion

for Attorneys’ Fees and Costs. The following is based on my personal knowledge, and if called

upon to do so, I could and would competently testify thereto.

                                Relevant Settlement Background

       7.       On March 8, 2017, Plaintiffs Tyhee Hickman and Shanay Bolden, former non-

exempt hourly employees of Defendant TL Transportation, LLC (“TLT”), filed a Class and

Collective Action Complaint against Defendant TLT alleging violations of the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”), the Pennsylvania Minimum Wage act

(“PMWA”), 43 P.S. §§ 333.101, et seq., the Maryland Wage and Hour Law (“MWHL”), Maryland

Code Annotated, Labor and Employment Article §§ 3-401, et seq. and Pennsylvania common law.

(Dkt. No. 1.)

       8.       On June 8, 2017, the Court issued an order staying the case pending mediation.

(Dkt. No. 12.) TLT thereafter produced data and information to facilitate informed settlement

discussions, including an electronic database containing payroll data for a sample of Delivery

Associates who worked for TLT between February 27, 2016, and April 15, 2017, at three of its

locations (King of Prussia, Swedesboro, and Baltimore).

       9.       Plaintiffs and TLT participated in mediation before the Hon. James R. Melinson,

Chief U.S. Magistrate Judge for the Eastern District of Pennsylvania (Ret.) at JAMS in

Philadelphia, PA on October 17, 2017. A settlement was not reached.

       10.      On November 28, 2017, Plaintiffs filed their First Amended Complaint to include

Amazon.com, LLC, Amazon Logistics, Inc. (together, “Amazon”), and Scott Foreman and




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Herschel Lowe (the two sole members of TLT) as additional Defendants and joint employers.

(Dkt. No. 20.) TLT filed its Answer on February 5, 2018, denying liability. (Dkt. No. 34.) The

Amazon defendants filed their Answer on March 2, 2018 denying liability and denying that they

jointly employed TLT employees. (Dkt. No. 38.) On February 5, 2018, Defendants Foreman and

Lowe filed a Motion to Dismiss based on lack of personal jurisdiction and venue in Pennsylvania.

(Dkt. No. 35.) The Court denied the motion in all grounds except with respect to Plaintiffs’

Maryland state law claims (which proceeded in the litigation against TLT and Amazon). (Dkt. No.

72.)

       11.     The Parties participated in a second mediation session before the Hon. James R.

Melinson (Ret.), at JAMS in Philadelphia, PA on March 15, 2018. A settlement was not reached.

       12.     On March 23, 2018, Plaintiffs filed their motion for partial judgment on the

pleadings on TLT’s admission, in its Answer, regarding its day rate payment scheme. (Dkt. No.

43.) The Court held oral argument and then converted the motion to a partial summary judgment

motion. (Dkt. Nos. 67, 69.) The Court granted Plaintiffs’ Motion for Summary Judgment, holding

that TLT compensated Plaintiffs using a day rate that did not lawfully compensate its employees

for overtime, in violation of the Fair Labor Standards Act (“FLSA”) and applicable state law. (Dkt.

No. 81.)

       13.     The Parties stipulated to notice after the Plaintiffs filed their motion for conditional

certification and to facilitate notice pursuant to 29 U.S.C. § 216(b) (“Notice Motion). (Dkt. Nos.

46 & 64). Notice was distributed on August 10, 2018 to 757 individuals of which 297 individuals

filed their consent forms to participate in this lawsuit, including Plaintiffs. (Dkt. Nos. 13, 83, 85,

87-90, 94, 96-101, 107- 110, 115.)

       14.     On November 1, 2018, Plaintiffs filed their Second Amended Complaint (“SAC”)




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adding violations of the New Jersey State Wage and Hour Law and adding Michael Easterday as

a Plaintiff and representative of the New Jersey class. (Dkt. No. 102.)

       15.     On October 26, 2018, Defendant TLT served Offers of Judgment pursuant to Fed.

R. Civ. P. 68 on 185 of the Opt-In Plaintiffs. The 185 Offers of Judgment totaled $101,579.50,

plus “reasonable attorney’s fees, expenses, and costs accrued and attributed to the prosecution of

[the Opt-In Plaintiff’s] specific claims … to the date of th[e] Offer of Judgment in an amount to

be determined by the Court.” Sixteen (16) Opt-In Plaintiffs filed their acceptance of offers of

judgment from TLT, including Named Plaintiff Easterday, totaling $16,065.50. (Dkt. Nos. 31,

106-1, 106-2, 106-3, 106-4, 106-5, 106-6, 106-7, 106-8, 106-9, 106-10, 106-11, 106-12, 106-13,

106-14, 112.) The Court entered the judgments and released their claims against TLT. (Dkt. Nos.

31, 50, 106, 111, 113, 114.) No attorneys’ fees were paid on these amounts.

       16.     Plaintiffs served a Rule 30(b)(6) deposition notice regarding Defendant TLT’s

payroll systems, and took the deposition of Shirley Washington on December 14, 2018. The parties

thereafter agreed to postpone the depositions of the remaining Rule 30(b)(6) witnesses, and TLT

serving offers of judgment, so that that the parties could participate in mediation.

       17.     In advance of mediation, TLT produced supplemental payroll data, and Amazon

produced delivery data, which Class Counsel reviewed and analyzed. On July 29, 2019, the Parties

participated in mediation before an experienced mediator, Stephen Sonnenberg, Esq.

       18.     On September 16, 2019, pursuant to the terms of the Settlement Agreement and

with consent of Defendants, Plaintiffs filed their Third Amended Complaint, substituting Michael

Easterday for O’Donald Henry as the representative Named Plaintiff for the New Jersey class, in

light of Mr. Easterday’s acceptance of an offer of judgment. (Dkt. Nos. 112-114, 123.)

       19.     As a result of the three mediations and continued arm’s-length negotiations between




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the Parties, the Parties have agreed to settle the Action in accord with the terms of the Settlement

Agreement.

       20.      This Settlement was reached after the substantial exchange of informal discovery,

including electronic payroll records showing days worked and all forms of compensation received

by the Plaintiffs and Class Members during the relevant time periods and preparation and exchange

of damages analyses. The Settlement provides Plaintiffs and Settlement Class Members with

substantial benefits without having to wait for years of drawn out litigation.

       21.      I believe that the settlement is not only fair and reasonable and in the best interests

of the Settlement Class, it is excellent. This settlement presents an extremely good recovery, as it

confers a substantial benefit on members of the Settlement Class. The settlement offers significant

advantages over the continued prosecution of this case: the Settlement Class will receive

significant and immediate financial compensation and will avoid the risks inherent in the continued

prosecution of this case in which Defendants would assert various defenses to their liability.

       22.      Some of the risks were the usual risks faced in wage and hour litigation, and others

were risks unique to this case. There was a risk that Plaintiffs would not succeed in establishing

joint employer liability and damages at trial against all of the Defendants.

       23.      While the Court had already ruled on liability – i.e. holding that unpaid wages were

owed where a Settlement Class Member worked more than forty hours per week -- the Parties

disagreed on numerous legal and factual issues that would have impacted the case moving forward,

including, but not limited to the following:

             1) the amount of time that Delivery Associates spent performing their work 1;


1
  Because the TL Defendants did not keep accurate time records of the time that Delivery
Associates worked during the relevant time period, the Parties had to use various assumptions to
estimate time worked for purposes of calculating damages. Both parties modeled these damages
by analyzing Amazon’s delivery data, which includes various times when the Delivery Associates


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              2) whether damages should be paid at a half-time rate or a time-and-a-half rate 2;
              3) whether Defendants would be able to meet their burden of demonstrating that the
                 TL Defendants’ unlawful pay system was taken in good faith with reasonable
                 grounds for their belief that they were complying with the FLSA pursuant to 29
                 U.S.C. § 216(b) such that they would avoid the imposition of liquidated damages;
              4) whether Amazon would be held liable for the alleged pay violations of TLT;
              5) whether the Court would certify a class action under Rule 23 or grant final
                 certification of a collective action under the FLSA; and
              6) whether Plaintiffs and/or Defendants would appeal myriad legal or factual
                 determinations, including class/collective action treatment, liability, and damages.
As a result, continued litigation would require significant factual development and any verdict at

trial could be delayed based on appeals by Defendants.

        24.      The Gross Settlement Amount of $1,800,000 includes amounts to cover: (1) service

awards for their efforts in bringing and prosecuting this matter to Named Plaintiff Tyhee Hickman

in the amount of $15,000, Named Plaintiff Shanay Bolden in the amount $15,000, and Named

Plaintiff O’Donald Henry in the amount of $2,500; (2) the payment of attorneys’ fees in the amount



scan and/or deliver packages to Amazon customers. The parties engaged in numerous meet and
confer calls so that Class Counsel could understand the data and could engage in fully informed
settlement negotiations. As part of their exposure analysis, Class Counsel’s in house data analyst
matched payroll records produced by TLT with the delivery data produced by Amazon, and built
in various factual assumptions on time worked in addition to the time that was captured by
Amazon’s delivery data. Ultimately the Gross Settlement Amount that was negotiated and agreed
upon represents a compromised resolution on this issue.
2
  Plaintiffs argued that, because Defendant TLT admitted that Delivery Associates were paid other
forms of compensation for services, the exception to the general rule that overtime must be paid
at a time-and-a-half rate as set forth in 29 C.F.R. § 778.112 would not apply. See 29 C.F.R. §
778.112 (permitting overtime to be paid at a half time rate where an employee is paid a flat sum
for a day’s work or for doing a particular job, without regard to the number of hours worked in the
day or at the job, and if he receives no other form of compensation for services); see also Rodriguez
v. Republic Servs., No. SA–13–CV–20–XR, 2013 WL 5656129, at *2 (W.D. Tex. Oct. 15, 2013).
Defendants raised various factual and legal arguments disputing that damages would be ordered
to be paid at a time-and-a-half rate. See, e.g., Lalli v. Gen. Nutrition Ctrs., Inc., 814 F.3d 1, 10 (1st
Cir. 2016); Powell v. Carey Int’l., Inc., 514 F. Supp. 2d 1302, 1313 (S.D. Fla. 2007); Mumby v.
Pure Energy Servs. (USA), Inc., 636 F.3d 1266, 1268 (10th Cir. 2011). Ultimately the Gross
Settlement Amount that was negotiated and agreed upon represents a compromised resolution on
this issue.


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of up to one-third (1/3) of the Gross Settlement Amount ($600,000.00), which will compensate

Class Counsel for all work performed in the litigation as of the date of the Settlement Agreement,

plus all work remaining to be performed, including but not limited to documenting the Settlement,

securing Court approval of the Settlement, making sure that the Settlement is fairly administered

and implemented, and obtaining final dismissal of the Action, plus the payment of out-of-pocket

costs incurred by Class Counsel, not to exceed Forty Thousand Dollars ($40,000); and (4) a

maximum of Twenty-Five Thousand Dollars $25,000 for the Settlement Administrator’s costs of

the settlement administration.

        25.     The Net Settlement Amount would be approximately One Million, One Hundred

and Two Thousand, and Five Hundred Dollars ($1,102,500). Awards to Eligible Class Members

will be made from the Net Settlement Amount. Specifically, all Eligible Class Members will

receive a pro rata share of the Net Settlement Amount based on the total number of work weeks

during which the Eligible Class Member worked four or more days and was employed by

Defendant TLT to deliver packages to Amazon customers in the United States between March 8,

2014 and April 15, 2017.

        26.     The Net Settlement Amount represents approximately 157% percent of Class

Counsel’s calculations of unpaid wages owed using the most favorable assumptions on time

worked at a half time rate.

        27.     There is no claims process, and a Settlement Class Member need not take any action

in order to receive a Settlement Award. Each Settlement Eligible Class Member will receive

settlement shares based on the weeks they worked more than forty hours in a workweek. Because

the formula provides a share for each day the Class Member worked when there was a service

charge, it is fair and reasonable.




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       28.     The amount of $100 per Eligible Class Member will be deducted from the Net

Settlement Amount prior to the determination of pro rata individual settlement shares and

allocated to each Eligible Class Member so that each Eligible Class Member receives at least $100

in exchange for their release of claims in this Settlement Agreement. Each Eligible Class Member

will receive a minimum amount of $100, regardless of the number of settlement shares allocated

to that Eligible Class Member.

       29.     If the Settlement is approved, Class Counsel estimates that the average award paid

to Settlement Class Members will be approximately $2,377.81. These amounts are meaningful to

the low wage workers who form the Settlement Class.

       30.     This is an excellent result for the Eligible Class Members, especially considering

the risks of continued litigation and is a reflection of Class Counsel’s experience. The Settlement

reached with Defendants, involves complex provisions that are specific to the FLSA and state

wage and hour laws. There was a risk that Plaintiffs would not succeed in maintaining a collective

or class through trial and a trial on the merits would involve significant risks for Plaintiffs as to

both joint liability and damages.

       31.     Class Counsel agreed to represent Plaintiffs on a contingency fee basis and was

prepared to invest time, effort and money over a period of years with absolutely no guarantee of

any recovery. Class Counsel would not have recovered any of their fees and out-of-pocket costs

had they not obtained a settlement or prevailed at trial.

       32.     The risks Class Counsel undertook were real, and the resources that Class Counsel

dedicated to this Lawsuit meant that such resources were not available to other cases. Class

Counsel’s contingency risk, together with the excellent result that has been achieved on behalf of

the Settlement Class Members, supports the requested fees and costs.




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          33.    The firm Angeion Group (“Angeion”) was retained as Settlement Administrator to

distribute the Settlement Awards and coordinate tax administration. Angeion has agreed to perform

administration duties for an amount not to exceed $25,000.00. See Settlement Agreement ¶9(n).

Notice of the Settlement was distributed on December 10, 2019, to all of the Settlement Class

Members via First Class Mail and email. The Notice explicitly outlines the allocation of the Gross

Settlement Fund, provides information on the meaning and nature of the terms and provisions of

the Settlement Agreement; the monetary awards that the Settlement will provide to participating

Class Members, the request for attorneys’ fees and costs, the requests for settlement administration

costs, and for a service awards to the Named Plaintiffs. In addition, the Notice explicitly sets forth

the procedures and deadlines for opting out of the Settlement, or submitting objections.

          34.    The response of the Settlement Class Members has been overwhelmingly positive.

To date, of the 757 Settlement Class Members, none have submitted objections, and none have

requested exclusion from the Settlement. 3

                             BERGER MONTAGUE’S LODESTAR

          35.    In my exercise of billing judgment, I have reviewed the billing records maintained

in this case, and have removed hours spent by attorneys and staff at my firm if I deemed such time

to be redundant or duplicative, or if it reflected less than ten hours of work by the biller. This

resulted in a reduction of 38.3 hours. After the exercise of such billing judgment, as of January

10, 2020, the total number of recorded hours spent on this litigation by Berger Montague is 1,364.1,

and the lodestar amount for attorney and support staff time, based on the firm’s current rates, is

$607,322.00. The hourly rates shown below are the usual and customary rates charged for each

individual in all of our cases. A breakdown of my firm’s lodestar is reflected below:



3
    The deadline to object or request to be excluded is February 10, 2020.


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  Name                           Position                    Hours     Rate         Lodestar
  Shanon J. Carson               Managing Shareholder        12.8      $820.00      $10,496.00
  Sarah R. Schalman-Bergen       Shareholder                 303.7     $620.00      $188,294.00
  Lane Vines                     Senior Counsel              24.3      $605.00      $14,701.50
  Camille Fundora Rodriguez      Associate                   543.3     $475.00      $258,067.50
  Michaela Wallin                Associate                   49.8      $435.00      $21,663.00
  Deanna Kemler                  Paralegal                   131.0     $300.00      $39,300.00
  Alex Grayson                   Paralegal                   299.20    $250.00      $74,800.00
  TOTAL                                                      1,364.1                $607,322.00

       36.     Due to the amount of privileged information contained in Berger Montague’s actual

hourly billing records, those detailed records are not attached here, but can easily be provided for

this Court’s in camera review should the Court wish to review them.

       37.     The hourly rates for the partners, attorneys, and professional staff are the same as

would be charged in non-contingent matters and/or which have been accepted and approved in

other recent class and collective action wage and hour litigation by courts around the country. See

e.g., Devlin v. Ferrandino & Son, Inc., No. 15-4976, 2016 WL 7178338, at *2 (E.D. Pa. Dec. 9,

2016) (approving Berger Montague’s hourly rates as reasonable and “within the range charged by

attorneys with comparable experience levels for litigation of a similar nature.”). Fenley v. Applied

Consultants, Inc., No. 2:15-cv-259-MRH (W.D. Pa. June 17, 2016); Dunkel v. Warrior Energy

Serv., Inc., No. 2:13-cv-695-MRH (W.D. Pa. Apr. 15, 2016); Niver v. Specialty Oilfield Sols., No.

14-1599-JFC (W.D. Pa. Oct. 7, 2015); Ciamillo v. Baker Hughes, Inc., No. 3:14-cv-00081-RRB

(D. Alaska June 19, 2015); Thompson v. Peak Energy Servs. USA, Inc., No. 13-cv-266 (W.D. Pa.

Nov. 19, 2014); Hively v. Archer Well Co., Inc. et al., No. 13-cv-106 (W.D. Pa. Aug. 12, 2014);

Stivers v. Office Depot, No. 12-cv-1534 (W.D. Pa. Sept. 19, 2013); Crawford v. Zenta Mortg.

Servs. LLC, No. 3:11-cv-129 (W.D.N.C. Jan. 16, 2013); Bearden v. Precision Air Drilling Servs.,

Inc., No. 2:11-cv-01511-NBF (W.D. Pa. Sept. 26, 2012); Thomas v. Allis-Chalmers, No. 2:10-cv-

01591-RCM (W.D. Pa. Sept. 11, 2012); Choul v. Nebraska Beef, Ltd., No. 8:10-cv-308 (D. Neb.


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May 17, 2012).

       38.     The time reflected above was time actually spent, in the exercise of reasonable

judgment, by the attorneys and staff involved.          Class Counsel was careful not to expend

unnecessary hours and not to duplicate work done by others. The time submitted herein reflects

only work done on behalf of the Settlement Class Members.

       39.     As reported above, and based also on the Declaration of Ryan Allen Hancock

submitted in support of this Motion, Class Counsel has spent a total of approximately 1,593.3

hours prosecuting this litigation since our investigation first began. Class Counsel’s current

lodestar is approximately $709,335.50. The proposed attorneys’ fees award of $600,000.00

represents a multiplier of only 0.85 of Class Counsel’s actual, current lodestar, not including all

work that will be necessary to bring this settlement to a conclusion.

                             BERGER MONTAGUE’S EXPENSES

       40.     This litigation required my firm to advance costs. Because the risk of advancing

costs in this type of litigation is significant, doing so is often cost prohibitive to many attorneys.

       41.     As of January 10, 2020, my firm expended costs in the amount of $32,877.18 to

prosecute this action, as follows:

                        Expense                                    Amount
                        Court & Service Fees                       $535.00
                        Computer Research                          $9,721.14
                        Copying                                    $4,233.76
                        Telephone                                  $28.99
                        Travel                                     $141.39
                        Production, Hosting, & Database            $107.31
                        Postage, Delivery & Freight                $343.55
                        Mediation                                  $8,767.49
                        Notice Administrator                       $7,076.79
                        Electronic Signature Service               $674.56
                        Transcripts                                $1,247.20
                        Total                                      $32,877.18


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       42.     As reported above, and based also on the Declaration of Ryan Allen Hancock

submitted in support of this Motion, Class Counsel has spent a total of approximately $33,180.00

in out-of-pocket expenses prosecuting this litigation since our investigation first began.

       43.     The expenses incurred pertaining to this case are reflected in the books and records

of this firm. These books and records are prepared from expense vouchers and check records and

are an accurate record of the expenses incurred. All of the expenses incurred were reasonable and

necessary to the prosecution of this case.

             SUMMARY OF WORK PERFORMED BY BERGER MONTAGUE

       44.     I was the lead Shareholder at Berger Montague with respect to this case. I directed

the work of the other attorneys at my firm, conducted a legal analysis of the facts presented by this

case and presented legal arguments to opposing counsel. In this capacity, I: 1) conducted the initial

case investigation; 2) oversaw, managed, assigned and coordinated duties of a team of attorneys

throughout this litigation; 3) devised and implemented strategy and participated in meetings and

numerous telephone conferences with Defendants’ counsel related to the litigation and settlement;

4) coordinated the review of Defendants’ documents and conducted depositions of TLT’s

representatives and Defendants Lowe and Herschel; 5) prepared for and attended oral argument of

Plaintiffs’ motion for partial judgment on the pleadings; 6) reviewed the damages analyses in

preparation for mediations; 7) lead attorney at all three mediations and during settlement

negotiations; 8) negotiated the details and terms of the Settlement Agreement; 9) edited the

Settlement Agreement; and 10) edited a number of the briefs in this case.

       45.     Below, I provide a summary description of the work performed by each of the

Berger Montague attorneys or staff on this case who billed at least ten hours on this matter.

       46.     As of January 20, 2020, an associate of our firm, Camille Fundora Rodriguez, billed



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543.3 hours to this case. Ms. Rodriguez was the primary associate on this case and researched

relevant issues for litigation; reviewed documents produced by Defendants; reply correspondence

in advance of the three mediations; oversaw the notice administration; drafted the mediation

statements and reviewed the damages analyses; responded to TLT Defendants’ offers of

judgments; prepared for and second chaired the TLT depositions; drafted first and second amended

complaints; prepared for and attended oral argument of Plaintiffs’ motion for partial judgment on

the pleadings; and edited various motions and supporting documents.

       47.     As of January 20, 2020, Lane Vines, a Senior Counsel, billed 24.3 hours to this

case. Mr. Vines attended the first mediation, participated in meetings, and conducted research

regarding financial viability of Defendants.

       48.     As of January 20, 2020, an associate of our firm, Michaela Wallin, billed 49.8 hours

to this case. Ms. Wallin researched relevant issues in preparation for the July 29, 2019 mediation;

drafted the settlement agreement and corresponding documents, third amended complaint, and the

motion for preliminary approval of the settlement.

       49.     As of January 10, 2020, a paralegal of our firm, Deanna Kemler billed 131.0 hours

to this case. Ms. Kemler prepared and calculated the damages analyses and settlement awards

based on the data and information provided by Defendants.

       50.     As of January 10, 2020, a paralegal of our firm, Alex Grayson billed 299.2 hours

to this case. Mr. Grayson assisted in the administration of notice and settlement, responses to the

offers of judgments; deposition preparation, and was the line of contact for Class Members.

       51.     All of the work described above was reasonable and necessary to the prosecution

and settlement of this case. Class Counsel collectively conducted an extensive factual investigation

and engaged in significant motion practice during the prosecution of this action. Through this




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comprehensive evaluation of the facts and law, Class Counsel was able to settle this case for a

substantial sum. Class Counsel achieved this result in a very timely fashion, providing members

of the Settlement Class with substantial and certain relief much sooner than if this matter had been

extensively litigated.

       52.     The settlement reached with Defendants through the ADR process, which involves

complex provisions that are specific to class action litigation of wage and hour law, is a reflection

of Class Counsel’s experience. Class Counsel negotiated a complicated settlement without

significant disputes between the Parties. The settlement provides members of the Settlement Class

with substantial benefits without having to wait for years of drawn out litigation. Based upon the

foregoing reasons, Class Counsel respectfully requests that this motion be granted.



Dated: January 10, 2020                               /s/ Sarah R. Schalman-Bergen
                                                      Sarah R. Schalman-Bergen




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